TheCase 18-00728-SMT
    order              Doc 23
           below is hereby     Filed 11/23/18
                           signed.                                                                                                             Entered 11/24/18 00:10:03   Desc Imaged
                                                                                                                       Certificate of Notice    Page 1 of 2
     Signed: November 21 2018




                                                                                                                                         _____________________________
                                                                                                                                         S. Martin Teel, Jr.
                                                                                                                                         United States Bankruptcy Judge

                                                                                                                 UNITED STATES BANKRUPTCY COURT
                                                                                                                  FOR THE DISTRICT OF COLUMBIA

        In re                                                                                                                           )
                                                                                                                                        )
        LORIE LYNN RONES,                                                                                                               )        Case No. 18-00677
                                                                                                                                        )        (Chapter 13)
                                                                                                         Debtor.                        )

                                                                                                                                      ORDER

                                     Upon consideration of the debtor’s motion to extend the

       deadline to file required documents (Dkt. No. 21), it is

                                     ORDERED that the debtor is granted until December 5, 2018,

       to file her Schedules A/B-J (Official Form 106), Copies of All

       Payment Advices or Other Evidence of Payment/Statement That No

       Evidence of Payment Exists, Statement of Your Financial Affairs,

       Chapter 13 Statement of Your Current Monthly Income, and Chapter

       13 Plan of Reorganization.

                                                                                                                                                      [Signed and dated above.]

       Copies to: Debtor (by hand-mail); recipients of e-notifications.




       R:\Common\TeelSM\TTD\Orders\Deadline Extention\Order re Extending Deadline to File Schedules (13)_Lorie Rones_v2.wpd
        Case 18-00728-SMT              Doc 23 Filed 11/23/18 Entered 11/24/18 00:10:03                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                   District of Columbia
In re:                                                                                                     Case No. 18-00728-SMT
Lorie Lynn Rones                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0090-1                  User: admin                        Page 1 of 1                          Date Rcvd: Nov 21, 2018
                                      Form ID: pdf001                    Total Noticed: 1

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 23, 2018.
db             +Lorie Lynn Rones,   2922 Pennsylvania Ave, SE,   Washington, DC 20020-3837

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 23, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 21, 2018 at the address(es) listed below:
              Nancy Spencer Grigsby   grigsbyecf@ch13md.com
              U. S. Trustee for Region Four   USTPRegion04.DC.ECF@USDOJ.GOV
                                                                                            TOTAL: 2
